 

raure O'neil Russell RECEIVED

3645 West 41st Ave, UnitA

 

 

 

Mailing address

Anchorage, AK 99517 . . HA 0.6 2020

City, State, Zip CLERK, U.S. GisTRICT COURT
434-882-0300 ANCHORAGE, A.K.
Telephone

email: Laura.O.Russell@gmail.com

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

Laura O'neil Russell
(Enter full name of plaintiff in this action)

Case No. 2! 20-Cv- O5¢- Cee

Plaintiff, (To be supplied by Court)
VS.

North Slope Borough , COMPLAINT UNDER

THE CIVIL RIGHTS ACT
Harry Brower, in official and personal capacity 42 U.S.C. § 1983

 

 

additional defendants listed on following pages , (NON-PRISONERS)
(Enter full names of defendant(s) in this action.
Do NOT use et al.)

Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

42 USC 1988, 42 USC 2000(d), 28 USC 1331, 28 USC 1367(a)
B. Parties

1. Plaintiff: This complaint alleges that the civil rights of _Laura O'neil Russell
(print your name)

who presently resides at__ 3645 West 41st Ave, Unit A, Anchorage AK 99517
(mailing address)

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3

defendants):
home rule borough
Defendant No. 1, North Slope Borough ionererteerrof
(name)

Alaska , and is employed as a
(state) (defendant's government position/title)

 

X This defendant personally participated in causing my injury, and | want money
damages.

OR

____ The policy or custom of this official’s government agency violates my rights, and |

seek injunctive relief (to stop or require someone do something).

Defendant No. 2, Harry Brower is a citizen of
(name)
Alaska , and is employed as a Mayor of the North Slope Borough
(state) (defendant's government position/title)

 

X This defendant personally participated in causing my injury, and | want money
damages.

OR

____The policy or custom of this official's government agency violates my rights, and |

seek injunctive relief (to stop or require someone do something).

 

 

Defendant No. 3, Forrest "Deano" Olemaun is a citizen of
(name)
Alaska , and is employed as a Chief Administrative Officer of the North Slope Borough
(state) (defendant's government position/title)

x This defendant personally participated in causing my injury, and | want money
damages.

OR

____The policy or custom of this official’s government agency violates my rights, and |

seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename
the claims, “Claim 4,” “Claim 5, etc.”).

PS02 — § 1983 Non-Prisoner
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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

 

4 a
Defendant No. X Fel, oe Fawley is a citizen of
\ (name)
A\wern , and is employed as a £ g Boron
(state) ( ndant's goverment position/title)

X This defendant personally participated in causing my injury, and | want money
damages.
OR

The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

 

Defendant No. B, to; Danner is a citizen of
(name)
A\at¥o. _, and is employed as a Dicer ec of FURIE ‘ces for the Noch plage
(state) (defendant's government position/title)
This defendant personally participated in causing my injury, and | want money
damages.
OR

The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No.& kKeanebn Rodeins is a citizen of

(name)

Noosa , and is employed as aches MAwicor to thy Mayer CF rhe No lor
(state) (defendant's government position/title)

Box.

KR This defendant personally participated in causing my injury, and | want money
damages.
OR
____The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename

the claims, “Claim 4,” “Claim 5, etc.”).

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Claim 1: On or about March 7, 2018 , my civil right to
(Date

be free from retaliation for protected activity (making a report of discrimination and retaliation)

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by the North Slope Borough
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.

Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):
In May of 2017, | began employment with the North Slope Borough as an Assistant Borough Atttorney.

 

On March 6, 2018, | sent an email to the following representatives of the North Slope Borough:
Mayor Harry Brower, Borough Attorney Felipe Farley, and Chief Administrative Officer
Forrest "Deano" Olemaun. This email included the following statements: "I have attempted
multiple times to speak with Ken Robbins about these issues but he refused to talk to me on a
timely basis, and because of that | had to turn to other avenues for relief. This email is to notify
you that | have spoken with the Human Rights Commission regarding workplace discrimination

 

and retaliation and they are working with me on this complaint. | will also be contacting the EEOC
regarding these issues."

 

That evening, my access to work email was blocked and despite multiple attempts to contact

my supervisor (Felipe Farley), | could get anyone at the Borough to speak with me other
than an IT employee who would only say that he was not allowed to talk to me.

 

The next day, | was served with a notice that my employment as an Assistant Borough Attorney
had been terminated.

 

The North Slope Borough terminated my employment in direct retaliation for my complaint
to the Human Rights Commission/EEOC regarding workplace discrimination and retaliation.

 

 

 

 

 

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Claim 2: On or about any occasions during 2017-2018 , my civil right to
(Date)

Equal protection - be free from discrimination based on gender/sex
(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by the North Slope Borough
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

In May of 2017, | began employment with the North Slope Borough as an Assistant Borough Atttorney.

 

 

Almost immediately, and on a continuing basis, | was treated differently and discriminatorily

 

based on my sex (female). Instances include:

 

*| made multiple reports to my supervisor, the CAO, and Advisor Ken Robbins of sexual harassment.

 

No action was taken to resolve my complaints; rather, | was retaliated against.
* in one of my first meetings with CAO Olemaun, in front of several males, he said that my

 

 

nickname would be "little girl."

 

* on multiple occasions, beginning early in my employment, CAO Olemaun placed his hand

 

on my lower back, arm, and shoulder

 

* my direct supervisor, Felipe Farley, referred to me as a "siren" who would get male directors in trouble.

 

* my direct supervisor, Felipe Farley, required me to have private "basic/remedial math lessons"

in his office with him, providing me assignments and flashcards on basic multiplication. He

directed me to practice with the female secretary. | was the only female attorney. No other attorneys
were required to receive these private math lessons.

* my direct supervisor told me on multiple occasions that “as a young single female" | can see
whoever | want, but that if | continued to socialize with a certain male employee, that | would be
responsible for getting that employee fired.

 

* | was denied the travel privileges that were given to the male attorneys, both in and out of state.

 

For one travel request, | was specifically told by my supervisor that Mayor's rationale for denying it

 

was my gender - because if | traveled with a male employee for the same training, it would result

 

in the inference that | was having sexual relations with the male employee.

 

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Claim 3: On or about throughout 2017-2018 , my civil right to
(Date)
Equal Protection - freedom from discrimination based on race

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by the North Slope Borough
(Name of the specific Defendant who violated this right)

 

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

Within the first few weeks of beginning employment with the Borough as an Assistant Borough

 

Attorney, | was informed by multiple attorneys that the Borough had a policy of preferential
employment treatment based on race. Alaska Natives were to be preferred in hiring, employment,

 

and other employment privileges over non-natives. This preference was to supercede any

 

qualifications between applicants or employees. | was further told that in the case of
Malabed v. North Slope Borough, this preference was specifically prohibited, but that the Borough

 

 

had refused to eliminate the preference provisions from its code. My direct supervisor, the

 

Borough Attorney, stated that this was legal because they would just substitute the word "local"

 

for "native" in public discussions.

 

 

On one occasion, the law department had an office wide meeting. At that meeting, my
supervisor told us that we needed to try to get more "local" employees in the law department
and that we had only one "local" employee currently working there - he was referring to a native
employee. Everybody at the table lived locally.

 

At Directors meetings with the CAO and Mayor, directives were given that there needed to be more
directors and employees who were native and not white.

 

On one occasion, a director hit me on the leg with rolled up papers. When | reported it to my

supervisor, he told me that she was married to an important native man so | needed to
just accept it.

 

| participated in two disciplinary processes against native employees. The HR Director, Lucy Leavitt,
demonstrated threatening behavior to me because the employees were native and should be immune.

 

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

Claim 4: On or about throughout 2017-2018, my civil right to Equal Protection — to be free from
discrimination based on sex was violated by Felipe Farley, Borough Attorney.

Supporting Facts:

Felipe Farley treated me differently than the other attorneys, who were all male. He would
frequently sit in my office and socialize for hours at a time. He would call me after hours on my
cell phone, and on weekends. He asked me to attend social events with him, and would imply
that it would help my position if I attended with him.

He insisted on multiple occasions that I allow him to buy and bring food to my house (for my
foster children). On one occasion, he came in and stayed until almost midnight. I was
uncomfortable because I felt that I could not tell my boss to leave.

He insisted on giving me rides and picking me up and taking me to the airport. On several
occasions, another male gave me a ride and Felipe showed up and was demonstrably irritated.

He did not tell the male attorneys who they could socialize with, but he tried to prevent me from
spending time with males both in an outside of work. Once, when a male friend dropped me off
at work, Felipe called a male coworker of mine and told him that I should not do that because it
would look bad (implying there would be rumors of a sexual nature) and that when I needed a
ride that I should call Felipe.

Felipe required me to take private remedial math lessons in his office from him, although math
was not part of my job and I had demonstrated no deficiency. I was the only attorney required to
do so, and I was the only female attorney.

On one occasion, Felipe told me that the only attorneys who had been fired in the past were
female.

Felipe told me that while as a “young single woman” I could see whoever I wanted, if I

continued to socialize with a specific male employee, I would be the reason that employee would
be fired and have his professional certification stripped.

On multiple occasions I made complaints, written and verbal, of sexual harassment and
discrimination. Felipe made no attempt to resolve these. In response, he removed essential job
duties from me, required me to work directly with a male I complained about, and told me that I
was a “siren” who would get male employees in trouble.

In one meeting with the Director of Public Works (Scott Danner), a police officer, police chief,
and my supervisor Felipe Farley, Scott Danner made a series of inappropriate sexual comments
to and about me, including that my face was at the height of Felipe’s “marijuana” (the Inupiaq
word is qaaq, pronounced “cock”), and that I should be giving out blow jobs if I wanted to get
things done. Felipe took no action on these inappropriate comments.

When I sent my email on March 6, 2018 to notify the administration I was filing a discrimination
complaint, Felipe participated in the decision to terminate my employment in retaliation.

5A

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

Claim 5: On or about throughout 2017-2018 my civil right to Equal Protection — to be free from
discrimination based on race was violated by Felipe Farley, Borough Attorney.

Supporting Facts:

When I began my employment, Felipe told me that the Borough had a policy of favoring Alaska
Natives, but that due to the decision in the Malabed case that we called it a “local hire” policy.

On many occasions, he advised me to curry favor with individuals specifically because they were
native, rather than using official processes to resolve questions.

On multiple occasions in the performance of my job duties as the HR attorney, the HR director
and deputy director acted illegally to discriminate against non-native employees and applicants.
When I discussed this with Felipe, he advised me that the director and deputy director were
important native people and that not only should I encourage “local” hire, but that as a non-
native I was vulnerable to negative employment action if I disagreed with a native employee.

In one office-wide meeting for the law department, Felipe told us that we needed to find more
“local” (i.e. native) people to work there, and that we had only one “local” employee — pointing
to the secretary who was native. Everyone at the table was locally based, some for many many
years.

Felipe made clear that I was specifically disadvantaged due to my race (non-native) ~ for
instance, on one occasion Director Rosemarie Habiech hit my leg with rolled up papers. When I
told Felipe, he stated that she was married to an important native person and I should accept it.

5B

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

Claim 6: On or about 2017 and 2018 my civil right to be free from discrimination based on sex
was violated by Scott Danner, Public Works Director for the North Slope Borough.

Supporting Facts:

When I was introduced to the Director of Public Works, Scott Danner, in 2017, my supervisor
stated that I was replacing a woman who had decided not to return from maternity leave. Scott
looked me up and down and said “‘Well, I would say something but it would get me in trouble
because you are a woman.”

In a 2018 meeting with Scot, a police officer, police chief, and my supervisor Felipe Farley,
Scott Danner made a series of inappropriate sexual comments to and about me, including that my
face was at the height of Felipe’s “marijuana” (the Inupiaq word is qaaq, pronounced “cock”),
and that I should be giving out blow jobs if I wanted to get things done.

Felipe took no action on these inappropriate comments. In fact, Felipe advised me that Scott
Danner was close friends with the CAO which is why he was Director even though he was not
native.

Claim 7: On or about early 2018 my civil right to be free from discrimination based on sex was
violated by Kenneth Robbins, advisor to the Mayor.

Supporting Facts:

Ken Robbins participated in several decisions to deny me travel requests similar to those that had
been approved for male employees. They stated that I was “too qualified” to need training.

My supervisor, Felipe, was part of those conversations and told me that the real reason is that a
male director would be attending the training also and that the administration thought that we
would engage in sexual relations. I stated that this was gender discrimination because the
decision was solely based on the fact that I was a woman. Felipe responded that I was correct.
He stated this on multiple occasions — that it was gender discrimination and wrong. He at one
point offered to pay for me to fly to the training out of his own pocket. He advised me to email
my personal email to document these incidents.

When I sent my email on March 6, 2018 to notify the administration I was filing a discrimination
complaint, Ken Robbins participated in the decision to terminate my employment in retaliation.

Claim 8: On or about early 2018 my civil right to be free from discrimination based on sex was
violated by Forrest “Deano” Olemaun, Chief Administrative Officer

 

Supporting Facts:

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

“Deano” participated in several decisions to deny me travel requests similar to those that had
been approved for male employees. They stated that I was “too qualified” to need training.

My supervisor, Felipe, was part of those conversations and told me that the real reason is that a
male director would be attending the training also and that the administration thought that we
would engage in sexual relations. I stated that this was gender discrimination because the
decision was solely based on the fact that I was a woman. Felipe responded that I was correct.
He stated this on multiple occasions — that it was gender discrimination and wrong. He at one
point offered to pay for me to fly to the training out of his own pocket. He advised me to email
my personal email to document these incidents.

Deano refused to meet with me without other females present. He did not express that this was
required for male employees.

A male officer, who had previously harassed me, filed a lengthy complaint with the Mayor’s
office that alleged I engaged in improper relationships. This complaint began to be distributed to
other borough employees. Despite this officer’s history of misconduct, and that my supervisor
Felipe advised me that the complaint was going to be denied, when I complained and asked that
something be done, I was threatened with negative employment action. This officer later
received positive financial benefit.

After I had complained of a police officer harassing me, and of the Mayor’s pastor harassing me
on a work sponsored trip, I was excluded from meetings in my subject areas and with top
administration officials.

When I sent my email on March 6, 2018 to notify the administration I was filing a discrimination
complaint, Deano participated in the decision to terminate my employment in retaliation.

Claim 9: On or about 2017-2018 my civil right to be free from discrimination based on sex was
violated by Harry Brower, Mayor.

 

Supporting Facts:

CAO Olemaun, Ken Robbins, and Felipe Farley advised the Mayor of my complaints of
discrimination and sexual harassment. The Mayor took no action.

When I sent my email on March 6, 2018 to notify the administration I was filing a discrimination
complaint, the Mayor made the ultimate decision to terminate my employment in retaliation.

Claim 10: On or about 2017-2018 my civil right to be free from discrimination based on race
was violated by Harry Brower, Mayor.

5D

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

Supporting Facts:

CAO Olemaun, Ken Robbins, and Felipe Farley advised the Mayor of my complaints of
discrimination. The Mayor took no action on my behalf. The Mayor permitted and encouraged
a policy of discrimination against non-natives, to include myself.

When I sent my email on March 6, 2018 to notify the administration I was filing a discrimination
complaint, the Mayor made the ultimate decision to terminate my employment in retaliation.

Claim 11: On or about March 7, 2018, my civil right to Due Process - not to be deprived of
property without due process of law was violated by Harry Brower, Mayor.

 

Supporting Facts:

On March 6, 2018, I sent an email to the following representatives of the North Slope Borough:
Mayor Harry Brower, Borough Attorney Felipe Farley, and Chief Administrative Officer Forrest
“Deano” Olemaun.

This email included the following: “I have attempted multiple times to speak with Ken Robbins
about these issues but he refused to talk to me on a timely basis, and because of that I had to turn
to other avenues for relief. This email is to notify you that I have spoken with the Human Rights
Commission regarding workplace discrimination and retaliation and they are working with me
on this complaint. I will also be contacting the EEOC regarding these issues. Please note that
under NSBMC 2.20.420 and PRR Chapter 5.03 (Whistleblower Act), the NSB may not take
action against me for reporting a matter of public concer to a public body. This includes
discharge or removing any privileges of employment. Also note that Mayoral Appointees may
not be discharged for discriminatory or retaliatory reasons. To take any adverse action against
me would violate State, Federal, and local law.”

That evening, my access to work email was removed and despite multiple attempts, no person I
contacted at the Borough would speak to me other than one IT employee who said he was not
allowed to talk to me.”

The next day, I was served with a notice that my employment had been terminated.

Claim 12: On or about March 7, 2018, my civil right to Due Process - not to be deprived of
property without due process of law was violated by Felipe Farley, Borough Attorney.

 

Supporting Facts:

SE

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

On March 6, 2018, I sent an email to the following representatives of the North Slope Borough:
Mayor Harry Brower, Borough Attorney Felipe Farley, and Chief Administrative Officer Forrest

“Deano” Olemaun.

This email included the following: “I have attempted multiple times to speak with Ken Robbins
about these issues but he refused to talk to me on a timely basis, and because of that I had to turn
to other avenues for relief. This email is to notify you that I have spoken with the Human Rights
Commission regarding workplace discrimination and retaliation and they are working with me
on this complaint. I will also be contacting the EEOC regarding these issues. Please note that
under NSBMC 2.20.420 and PRR Chapter 5.03 (Whistleblower Act), the NSB may not take
action against me for reporting a matter of public concern to a public body. This includes
discharge or removing any privileges of employment. Also note that Mayoral Appointees may
not be discharged for discriminatory or retaliatory reasons. To take any adverse action against
me would violate State, Federal, and local law.”

That evening, my access to work email was removed and despite multiple attempts, no person I
contacted at the Borough would speak to me other than one IT employee who said he was not
allowed to talk to me.”

The next day, I was served with a notice that my employment had been terminated.

Claim 13: On or about March 7, 2018, my civil right to Due Process - not to be deprived of

property without due process of law was violated by Forrest “Deano” Olemaun, Chief
Administrative Officer.

 

 

Supporting Facts:

On March 6, 2018, J sent an email to the following representatives of the North Slope Borough:

Mayor Harry Brower, Borough Attorney Felipe Farley, and Chief Administrative Officer Forrest
“Deano” Olemaun.

This email included the following: “I have attempted multiple times to speak with Ken Robbins
about these issues but he refused to talk to me on a timely basis, and because of that I had to turn
to other avenues for relief. This email is to notify you that I have spoken with the Human Rights
Commission regarding workplace discrimination and retaliation and they are working with me
on this complaint. I will also be contacting the EEOC regarding these issues. Please note that
under NSBMC 2.20.420 and PRR Chapter 5.03 (Whistleblower Act), the NSB may not take
action against me for reporting a matter of public concern to a public body. This includes
discharge or removing any privileges of employment. Also note that Mayoral Appointees may
not be discharged for discriminatory or retaliatory reasons. To take any adverse action against
me would violate State, Federal, and local law.”

That evening, my access to work email was removed and despite multiple attempts, no person I
contacted at the Borough would speak to me other than one IT employee who said he was not
allowed to talk to me.”

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

The next day, I was served with a notice that my employment had been terminated.

Claim 14: On or about March 7, 2018, my civil right to Due Process - not to be deprived of
property without due process of law was violated by Harry Brower, Mayor.

 

Supporting Facts:

On March 6, 2018, I sent an email to the following representatives of the North Slope Borough:
Mayor Harry Brower, Borough Attorney Felipe Farley, and Chief Administrative Officer Forrest
“Deano” Olemaun.

This email included the following: “I have attempted multiple times to speak with Ken Robbins
about these issues but he refused to talk to me on a timely basis, and because of that I had to turn
to other avenues for relief. This email is to notify you that I have spoken with the Human Rights
Commission regarding workplace discrimination and retaliation and they are working with me
on this complaint. I will also be contacting the EEOC regarding these issues. Please note that
under NSBMC 2.20.420 and PRR Chapter 5.03 (Whistleblower Act), the NSB may not take
action against me for reporting a matter of public concern to a public body. This includes
discharge or removing any privileges of employment. Also note that Mayoral Appointees may
not be discharged for discriminatory or retaliatory reasons. To take any adverse action against
me would violate State, Federal, and local law.”

That evening, my access to work email was removed and despite multiple attempts, no person I
contacted at the Borough would speak to me other than one IT employee who said he was not
allowed to talk to me.”

The next day, I was served with a notice that my employment had been terminated.

Claim 15: On or about March 7, 2018, my civil right to Due Process - not to be deprived of
property without due process of law was violated by Kenneth Robbins, Advisor to the Mayor.

 

Supporting Facts:

On March 6, 2018, I sent an email to the following representatives of the North Slope Borough:
Mayor Harry Brower, Borough Attorney Felipe Farley, and Chief Administrative Officer Forrest
“Deano” Olemaun.

This email included the following: “I have attempted multiple times to speak with Ken Robbins
about these issues but he refused to talk to me on a timely basis, and because of that I had to turn
to other avenues for relief. This email is to notify you that I have spoken with the Human Rights
Commission regarding workplace discrimination and retaliation and they are working with me
on this complaint. I will also be contacting the EEOC regarding these issues. Please note that

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

under NSBMC 2.20.420 and PRR Chapter 5.03 (Whistleblower Act), the NSB may not take
action against me for reporting a matter of public concern to a public body. This includes
discharge or removing any privileges of employment. Also note that Mayoral Appointees may
not be discharged for discriminatory or retaliatory reasons. To take any adverse action against
me would violate State, Federal, and local law.”

That evening, my access to work email was removed and despite multiple attempts, no person I
contacted at the Borough would speak to me other than one IT employee who said he was not
allowed to talk to me.”

The next day, I was served with a notice that my employment had been terminated.

Claim 16: On or about March 7, 2018, the North Slope Borough breached its implied contract
for my employment.

 

Supporting Facts:

For several months prior to March 7, I had been assured by my supervisor Felipe Farley that my
employment with the Borough was secure, I could expect to remain for years to come, and that
my performance had been exemplary. He at times stated this in direct response to me asking him
if I was safe in my job and if I would be there long enough that it made sense to move my family
there. I had also been directly told by CAO Olemaun that I was “one of the two most qualified
employees in the Borough.” Based on these representations, I moved my sister from Virginia to
Utqiagvik to live with me. I also fostered children in my home anticipating I would be able to
keep caring for them indefinitely.

On March 6, 2018, I sent an email to the following representatives of the North Slope Borough:

Mayor Harry Brower, Borough Attomey Felipe Farley, and Chief Administrative Officer Forrest
“Deano” Olemaun.

This email included the following: “I have attempted multiple times to speak with Ken Robbins
about these issues but he refused to talk to me on a timely basis, and because of that I had to turn
to other avenues for relief. This email is to notify you that I have spoken with the Human Rights
Commission regarding workplace discrimination and retaliation and they are working with me
on this complaint. I will also be contacting the EEOC regarding these issues. Please note that
under NSBMC 2.20.420 and PRR Chapter 5.03 (Whistleblower Act), the NSB may not take
action against me for reporting a matter of public concern to a public body. This includes
discharge or removing any privileges of employment. Also note that Mayoral Appointees may
not be discharged for discriminatory or retaliatory reasons. To take any adverse action against
me would violate State, Federal, and local law.”

That evening, my access to work email was removed and despite multiple attempts, no person I
contacted at the Borough would speak to me other than one IT employee who said he was not
allowed to talk to me.”

The next day, I was served with a notice that my employment had been terminated.
5H

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COMPLAINT UNDER THE CIVIL RIGHTS ACT 42 U.S.C. § 1983 LAURA O’NEIL RUSSELL

Claim 17: On or about March 7, 2018, the North Slope Borough Breached the Implied
Covenant of Good Faith and Fair Dealing.

 

Supporting Facts:

For several months prior to March 7, I had been assured by my supervisor Felipe Farley that my
employment with the Borough was secure, I could expect to remain for years to come, and that
my performance had been exemplary. He at times stated this in direct response to me asking him
if I was safe in my job and if I would be there long enough that it made sense to move my family
there. I had also been directly told by CAO Olemaun that I was “one of the two most qualified
employees in the Borough.” Based on these representations, I moved my sister from Virginia to
Utqiagvik to live with me. I also fostered children in my home anticipating I would be able to
keep caring for them indefinitely.

On March 6, 2018, I sent an email to the following representatives of the North Slope Borough:
Mayor Harry Brower, Borough Attorney Felipe Farley, and Chief Administrative Officer Forrest
“Deano” Olemaun.

This email included the following: “I have attempted multiple times to speak with Ken Robbins
about these issues but he refused to talk to me on a timely basis, and because of that I had to turn
to other avenues for relief. This email is to notify you that I have spoken with the Human Rights
Commission regarding workplace discrimination and retaliation and they are working with me
on this complaint. I will also be contacting the EEOC regarding these issues. Please note that
under NSBMC 2.20.420 and PRR Chapter 5.03 (Whistleblower Act), the NSB may not take
action against me for reporting a matter of public concern to a public body. This includes
discharge or removing any privileges of employment. Also note that Mayoral Appointees may
not be discharged for discriminatory or retaliatory reasons. To take any adverse action against
me would violate State, Federal, and local law.”

That evening, my access to work email was removed and despite multiple attempts, no person I
contacted at the Borough would speak to me other than one IT employee who said he was not
allowed to talk to me.”

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes X No

2. If your answer is “Yes,” describe each lawsuit.
a. Lawsuit 1:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

b. Lawsuit 2:

Plaintiffs):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

F. Request for Relief

Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of $_an amount to be proven at trial

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2. Punitive damages in the amount of $ in an amount to be determined by a jury

3. An order requiring defendant(s) to

 

4. A declaration that

5. Other: Fees and costs and any other relief the court deems just

 

Plaintiff demands a trial by jury. * Yes No

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
that the information contained in the complaint is true and correct.

Executed at_Andnomae , Nasa on S/6/20
SS “(Location) **~(Date)

Ze (Plaintiffs Original Signature)

Y

Original Signature of Attorney (if any) (Date)

 

 

 

Attorney's Address and Telephone Number

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